         Case 2:15-cr-00144-SMJ            ECF No. 461        filed 07/01/16      PageID.1596 Page 1 of 1
O PS 8
(3/15)
                                                                                                       FILED IN THE
                                                                                                   U.S. DISTRICT COURT
                              UNITED STATES DISTRICT COURT                                   EASTERN DISTRICT OF WASHINGTON

                                                           for
                                            Eastern District of Washington                     Jul 01, 2016
                                                                                                  SEAN F. MCAVOY, CLERK




U.S.A. vs.                   Broadnax Jr., Kevin                         Docket No.        0980 2:15CR00144-SMJ-10

                                 Petition for Action on Conditions of Pretrial Release

         COMES NOW Charles J. Kuipers, PRETRIAL SERVICES OFFICER presenting an official report upon the
conduct of defendant Kevin Broadnax, Jr., who was placed under pretrial release supervision by the Honorable U.S.
District Judge Salvador Mendoza sitting in the court at Richland, Washington, on the 12th day of May, 2016, under the
following conditions:

Condition #2: Defendant shall not commit any offense in violation of federal, state, or local law. Defendant shall advise
the supervising Pretrial Services Officer and defense counsel within one business day of any charge, arrest, or contact with
law enforcement. Defendant shall not work for the United States government or any federal or state law enforcement agency,
unless Defendant first notifies the supervising Pretrial Services Officer in the captioned matter.

         RESPECTFULLY PRESENTING PETITION FOR ACTION OF COURT FOR CAUSE AS FOLLOWS:

Violation #4: The defendant violated this condition by being arrested on June 27, 2016, on charges of second degree
possession of stolen property and making false statements to public servant.

     PRAYING THAT THE COURT WILL INCORPORATE THE VIOLATION(S) CONTAINED IN THIS
           PETITION WITH THE OTHER VIOLATIONS PENDING BEFORE THE COURT.

                                                                          I declare under the penalty of perjury
                                                                          that the foregoing is true and correct.
                                                                          Executed on:       June 30, 2016
                                                                  by      s/Charles J. Kuipers
                                                                          Charles J. Kuipers
                                                                          U.S. Pretrial Services Officer


THE COURT ORDERS
[ ]  No Action
[ ]  The Issuance of a Warrant
[ ]  The Issuance of a Summons
[ ]  The incorporation of the violation(s) contained in this
      petition with the other violations pending before the
      Court.
[ ]  Defendant to appear before the Judge assigned to the case.
[ ]  Defendant to appear before the Magistrate Judge.
[ ]  Other
                                                                            Signature             Officer
                                                                            S gnature of Judicial Of
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                                                                                                     ficer

                                                                               07/01/2016
                                                                            Date
